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 6                             UNITED STATES DISTRICT CO URT

 7                                     DISTRICT O F NEVADA

 8 UNITED STATESOFAM ERICA,                         )
                                                    )
 9                        Plaintiff,                )
                                                    )
10          v.                                      )          2:12-CR-81-PMP-(RJJ)
                                                    )
1l JESSICA CASILLAS,akaç1J'',                       )
                                                    )
12                        Defendant.                )
13                               FINAL ORDER O F FORFEITURE
14          On August21s2012,theUnited StatesDistrictCourtfortheDistrid ofNevada entered a

15 PreliminaryOrderofForfeiturepursuantto Fed.R.Crim.P.32.2(b)(1)and(2);Title21,United
16 StatesCode,Section 853(a)(1)and (a)(2);andTitle 18,United StatesCode,Section 924(d)(1),
17 (2)(C),and(3)(B)andTitle28,UnitedStatesCode,Section2461(c),baseduponthepleaofguilty
18 bydefendantlEsslcA CASILLAS,akatûl''tocriminaloffenses,forfeitingspecificpropertyalleged
19 intheCrim inalIndictmentandshownbytheUnited Statestohavetherequisitenexustotheoffenses

20 to which defendantJESSICA CASILLAS,akaU ''pled guilty.Crim inalIndictment,ECF No. 20;
21 M inutesofChangeofPleaProceedings,ECFNo.46;PleaM em orandum , ECf No.47;Prelim inary
22 OrderofForfeiture,ECF No.48.
23          This Courtfindsthe United States ofAmerica published the notice of the forfeiture in

24 accordance with the law via the officialgovernmentinternetforfeiture site, w ww .forfeiture.gov,
25 consecutivelyfrom August25,2012,throughSeptem berz3,2012,notifyinga1lthirdpartiesoftheir

26 righttopetition theCourt.NoticeofFiling ProofofPublication,ECF No.59.
             Case 2:12-cr-00081-LDG-CWH       Document 73      Filed 12/10/12    Page 2 of 3



 l             ThisCourttindsno petitionwastiled herein byoron behalfofany personorentityand the
 2 timeforliling such petitionsand claim shasexpired.

 3             ThisCourtfindsnopetitionsarependingwithregardtotheassetsnamedhereinandthetime
 4 forpresenting such petitionshasexpired.

 5             THEREFORE,IT IS HEREBY ORDERED,ADJUDGED,AND DECREED thata11right,
 6 title,and interestin the property hereinafterdescribed iscondemneds forfeited,and vested in the
 7 United States ofAm erica pursuantto Fed.R.Crim . P.32.
                                                        2(b)(4)(A)and (B);Fed.R.Crim.P.
 8 32.2(c)(2);Title21,UnitedStatesCode,Section853(a)(1)and(a)(2);Title18,UnitedStatesCode,
 9 Section924(d)(1)s(2)(C),and(3)(B)andTitle28,UnitedStatesCode,Section2461(c);andTitle
10 21,UnitedStatesCode,Section853(n)(7)andshallbedisposedofaccordingtolaw:
11                   a.     $6,871.00 in United StatesCurrency,seized from Defendants;
12                   b.     Heckler& Koch,Black,9m m Handgun, SerialNumber24-088771;

13                   c.     Sm ith & W esson M agntlm .357Revolver, Silver,SerialNumber13A40487;
14                   d.     Sig SauerP238,.380 caliber, Black Handgun,SerialNum ber27A945232;

15                   e.     M ondial1900 Single ShotBlack Handgun, .22 caliber,SeziaiNumber
16                          A 78870)

17                   f.     B& A Revolver,Silver,.22 caliber,No serialnum berobselwed;and

18                   g.     anyanda11ammunitionCpropertf').
19             IT IS FURTHER ORDERED,ADJUDGED, AND DECREED thatany and a1lforfeited

20 funds,including butnotlimited to,currency,currency equivalents, certilicatesofdeposit,aswell
21 asany income derived asa resultofthe United StatesofAmerica'sm anagem entofany property
22 forfeited herein,and the proceeds from the sale of any forfeited property shallbe disposed of
23 according to law .

24 ...
25   . . .
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26 ...
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 1         TheClerk ishereby directed to send copiesofthisOrderto allcounselofrecord andthree

 2 certitiedcopiestotheUnited StatesAttom ey'sOftice.
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 3         DATED this     /PfN. dayof )         y       ,
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 5                                                  D   ATES DISTRICT JUDGE
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